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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE



 In re:                                 )                  Case No. 22-11068-JTD
                                        )                  Chapter 11
 FTX TRADING LTD., et al.,              )                  Judge John T. Dorsey
                                        )
          Debtors.                      )
 _______________________________________)


     NOTICE AND SUBSTITUTION OF APPEARANCE AND CERTIFICATION OF
                        GOVERNMENT COUNSEL

           Please enter the appearance of the undersigned attorney, Elisabeth M. Bruce, as counsel

of record for the United States of America, on behalf of its agency the Internal Revenue Service

and in substitution for Ward W. Benson. Please withdraw the appearance of Ward W. Benson.

           Ms. Bruce files this certification of a government attorney pursuant to Local Rule 9010-

1(e)(i):

           1.     Ms. Bruce is admitted to the bar of the State of Virginia (Registration No. 92132)

                  and to the United States District Courts for the Eastern District of Virginia,

                  Western District of Virginia, and Western District of Tennessee.

           2.     Ms. Bruce is in good standing in all jurisdictions in which he has been admitted.



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       3.      Ms. Bruce will be bound by the Local Rules of the United States Bankruptcy

Court for the District of Delaware, and he submits to the jurisdiction of this Court for

disciplinary purposes.



DATE: January 12, 2023                                Respectfully submitted,

                                                      DAVID A. HUBBERT
                                                      Deputy Assistant Attorney General

                                                      /s/Elisabeth Bruce
                                                      ELISABETH M. BRUCE
                                                      Trial Attorney, Tax Division
                                                      U.S. Department of Justice
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                                                      202-514-6866 (f)
                                                      Elisabeth.M.Bruce@usdoj.gov

                                                      Counsel for the United States of America
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                                  CERTIFICATE OF SERVICE

       I certify that the foregoing NOTICE OF APPEARANCE was filed with the Clerk of the

Court on JANUARY 12, 2023, using the CM/ECF system, which will send notification of such

filing to all parties appearing in said system.


                                                    /s/ Elisabeth M. Bruce
                                                    ELISABETH M. BRUCE
